                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


     UNITED STATES OF AMERICA               )
                                            )
                                            )    NO. 3:18-cr-00199
     v.                                     )
                                            )    JUDGE CAMPBELL
     TARIUS CLAYBROOKS                      )


                                        ORDER

     The pretrial conference scheduled for Monday, February 25, 2019, at 2:00 p.m. is RESET

for 2:30 p.m. the same day.

       It is so ORDERED.

                                         ____________________________________
                                         WILLIAM L. CAMPBELL, JR.
                                         UNITED STATES DISTRICT JUDGE




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